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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND



FG HEMISPHERE ASSOCIATES,                        *
LLC,                                             *
                                                 *


                Plaintiff,                       *
                                                 *


V.                                               *           Civil No.PJM 22-CV-2369
                                                 *


DEMOCRATIC REPUBLIC OF CONGO *
et al.                                           *
                                                 *


Defendants.                                      *



                             MORANDUM OPINION AND ORDER


         On September 5,2023, the Court granted Plaintiffs Motion for Writ of Attachment Before

Judgement. ECF No. 3. It now considers the amount of the bond to be set in connection with the

attachment before judgment. Defendants have requested a bond in the amount of$4,600,000. ECF

No. 40. Plaintiff contends that an appropriate bond amount is $50,000. ECF No. 43.

         The amount requested by Defendants, $4,600,000, will not be awarded. Defendants have

provided no legal authority or factual support to justify that amount, nor have they shown that

damages in that amount have been or will be incurred as a result of the attachment. On the other

hand, the Court believes that a total bond of$50,000 for four properties, as suggested by Plaintiff,

is unreasonable. The Court has determined instead that a bond of $50,000 for each of the four

properties in issue, a total of$200,000, is appropriate.

         Accordingly, a bond of $50,000 as to each of the four properties, for a total of $200,000,

shall issue. The Court therefore GRANTS Defendants' Motion for Proposed Bond for Writ of

Attachment Before Judgment,BUT ONLY to the extent of$50,000 for each ofthe four properties

in issue, for a total bond of$200,000.
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described property of Tombstone.

       The attachment shall not exceed property reasonable valued (including existing

encumbrances) in excess of $7,000,000.

       Tombstone shall not sell, dispose of, mortgage, transfer the title of, or otherwise

encumber the aforesaid described property, until further order of the Court.



                                                             2023
.DATED: This                    day of

                                      /s/ M. Giron, Deputy Clerk      W
                                      CATHERINE STAVLAS '
                                      CLERK, UNITED STATES DISTRICT COURT
